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                    Exhibit C
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                                                          LAIBO
                be denotes an entity that is also understood     to be -the
                                                                         000409
                                                                            object     close parallel trajeclo(ies. 10. A radio beam. -v. bea
                of some other verb or preposition. Shall _we say it is I_ she          beam·lng, beamo.     -intr. 1. To radiate hght ; shine ;'O<I,
                loves or it is me she loves? There 1s no stnct rule, but given         smile expansively. ---:-"- To emit or transmit. -ldl~rn· l'o
                the natural tendency to use objective forms like me rather              Iha beam. 1. Followmg a radio beam, as an aircraft · 0 n
                than nominatives like / in undecidable cases, the use of me            formal. On the right track; operating correctly. (ME <·2       b••I
                                                                                                                                                  e.,
I'              is entirely defensible here. It _should also be noted that the
                use of the nominative following to be sounds st1lted when
                the verb has been contracted. Nevertheless, a puns! would
                                                                                       beam.]
                                                                                      beam-ends (bem'!ndz') pl.n. The ends_ of a ship's bea ·\
                                                                                      beam•lsh (be'mlsh) adj. Beammg; smiling. -bearn•t ~ s.
                say it's J rather than it's me, or that's they rather than that's      adv.                                                          s •ly
                them.                                                                 beam•y (bf'mf) adj. ·l•er, •l•eot. _1. Broad in the b
               Be The symbol for the element beryllium.                                 2. Emitting beams, as of light; radiant.                    earn.
               be- pref 1. Completely; thoroughly; excessively. Used as an            bean (hen) n. 1. a. Any of several rtants of the genus Ph
                intensive: bemoan. 2. On; around; over: b~smear. 3._Used Ul             o/us, having compound leaves, white or yellow nowers '"'•·
                Conn transitive verbs from nouns, adJecllves, and mtrans1-              seed-bearing pods. b. The edible seed or pod of any of ihand
                tivc verbs, as: a. Make; cause to become: besot. b. Affect or           plants. c. Any of several related plants beanng similar p:
                provide with: bespangle. [ME< OE bi•.]                                  and seeds. d. Any of various other seeds or pods resemblin s
               beach (beth) n. 1. The shore of a body of water, esp. when               beans, as the coffee bean. 2. Slang. The head. 3. bean g
                sandy or pebbly. 2. The sand or pebbles on a shore. -tr. v.             Slang. A small amount: don't know beans about the mark•·
                beached, beach-Ing, beach•es. To haul or drive ashore.                  4. Chiefly Brit. Slang. A fellow; chap. ---:"· v. beaned, be.'~:
                [Orig. unknown.I                                                        Ing, beans. Slang. To hit on the head with a thrown object
               beach buggy n. A dune buggy.                                             esp. a pitched baseball. -Idioms. Nil of beano. Energetic'
               beach•comb•er (boch'ko'mor) n. 1. One who lives on what                  spill Iha beano. To dtsclose something that was not meani
                can be found on beaches or in wharf areas. 2. A long wave               to be disclosed. [ME bene < OE bean.]
L<              rolling in toward a beach.                                            bean•bag (ben'biig') n. _A small bag filled with dried beans
               beach flea n. Any of various small, jumping crustaceans of               and used for throwmg m games.

q               the family Orchestiidae, living on sandy beaches al or near
                the tide line.
               beach grass n. Any grass of the genus Ammophi/a, growing
                mostly on sandy shores and dunes and having spikelets in
                                                                                      bean ball n. A baseball pitch aimed at the baller's head
                                                                                      bean blight n. A disease of the_ bean caused by the bacte'.
                                                                                        rium Xanthomonas phaseoli, which results m yellow-brown
                                                                                        blotches on all parts of the plant.
                long, crowded clusters.                                               bean caper n. A plant of the genus Zygophyllum, esp. z
               beach·head (boch'hM') n. 1. A position on an enemy shore-               fabago, a shrub of the Middle East, bearing edible bud;
                 line captured by troops in advance of an invading force.               used as capers.
                 2. A position that opens the way for further development;            bean curd n. A soft, cheeselike food made from pureed soy
                 foothold.                                                              beans. [Transl. of Chin. (Mandarin) dou' fu 1 : dou<, bean +
               beach pea n. Either of two similar North American plants,               fu', curdled.]        '
                 Lathyrus maritimus, of the Atlantic coast, or L li11oralis, of       bean•le (bf'n!) n. A small brimless cap.
                 the Pacific coast, having purplish flowers and sprawling             bean•o (be'no) n., pl. -oo. A form of bingo, esp. one using
                 stems.                                                                 beans as markers.
               beach plum n. A seacoast shrub, Prunus maritima, of north-             bean•pole (ben'pol') n. 1. A thin pole used to support bean
                 eastern North America, having white flowers and edible,                vines. 2. Slang. A very tall, thin person.
                 plumlikc fruit.                                                      bean sprout n. A young, tender shoot of certain beans, such
               beach wormwood n. A seacoast plant, Artemisia stelle-                    as the soybean, used in cooking.
                 riana, native to Asia, covered with dense white down and             bean•stalk (bfn'stilk') n. The stem of a bean plant.
                 having small yellow flowers.                                         bean tree n. Any of various trees, such as the catalpa, that
               bea•con (be'kon) n. 1. A signal fire, esp. one used to warn of           bear beanlike fruit.
                 an enemy's approach. 2. A lighthouse or other signaling or           bear• (bar) v. bore (bor, bor), borne or born (born, born),
                 guiding device on a coast. 3. A radio transmiller that emits           bear•lng, bears. -tr. 1. To hold up; support. 2. To move
                 a characteristic signal as a warning or guide. 4. Something            while supporting; carry. 3. To carry in the mind; harbor:
                 that warns or guides. -tr. & intr. v. -coned, -con•lng, -cons.        bore grudges. 4. To transmit; relate: bearing glad tidings.
                 To provide with or serve as a beacon. (ME beken < OE                   5. To have as a visible characteristic: bore a scar on his arm.
                 beacen.]                                                               6. To have as a quality; exhibit. 7. To carry (oneself) in a
               bead (bM) n. 1. a. A small, ball-shaped piece of material               specified way; conduct: bore herself with grace. 8. To be
                 pierced for stringing or threading. b. beads. A necklace               accountable for; assume: bearing heavy responsibilities.
                 made of such pieces. c. beads. A_rosary. 2. A small, round            9. To have a tolerance for; endure: couldn'r bear his lying.
                 object, esp.: a. A small drop of moisture. b. A bubble of ~as          10. To be suscepttble to; admit of: The case will bear inw.
                 in a liquid. c. A small knob of metal on the muzzle of a nfle          ligation. 11. To give birth to. 12. To produce; yield: plants
                 or gun, used for sighting. 3. A strip of material, usually            bearingflowers. 13. To offer; render: bearing witness. 14. To
                 wood, with one molded edge placed flush against the inner              move by steady pressure; push: boats home by the tides.
                 part of a door or window frame. -tr. & intr. v. bead-ad,               - intr. 1. To yield a product; produce. 2. To have rel-
                 bead•lng, beado. To furnish with or collect into beads. [ME            evance; apply: how the relativity theory bears on the history of
                 betk, rosary bead < OE gebed, prayer.]                                 science. 3. To exert pressure. 4. To exert oneself deter•
               bead•lng (be'ding) n. 1. Beads or material used for beads.               minedly; forge. 5. To proceed or extend in a specified direc-
                 2. Ornamentation with beads. 3. A narrow, half-rounded                 tion: bore right at the comer. -phrasal vett>o. bear down.
     beagle      molding. 4. A narrow piece of openwork lace through which              1. To overwhelm; vanquish: bore down all opposition. 2. To
                 ribbon may be run.                                                     apply maximum effort and concentration: really bore down
               bea-dle (bM1) n. A minor parish official in an English                   and finished the task. bear down on. To affect in a harmful
                 church whose duties include keeping order and ushering                 or adverse way: Financial presswes are bearing down on him.
                 during services. [ME bedele, herald < OE bydel.]                       bear out To prove right or justified; confirm: results thal
               bead-work (bM'wOrk') n. 1. Decorative work in beads.                     bear out his claims. bear up. To withstand stress, difficulty,
                 2. Archit. Beaded molding.                                             or allrition: bore up well during the fang illness. bear with. To
               bead-y (bi!'df) adj. -I-er, -1-esl 1. Small, round, and shiny:           be patient or tolerant with: Please bear with me whilt I ex•
                beady eyes. 2. Decorated or covered with beads.                         plain. -Idiom. bear In mind. To remember. (ME beren <
               bea-gle (be'gol) n. One of a breed of small hounds having                OE beran.]
                short legs, drooping ears, and a smooth coal with white,                     Synonyms: bear, endure, stand, suffer, abide, toleratt.
                black, and tan markings. [ME beg/e.]                                    These verbs are compared in the sense of withstanding, sus•
               beak (bfk) n. 1. a. The horny, projecting structure forming              taining, or putting up with. Bear pertains broadly to capac·
                the mandibles of a bird; bill. b. A part or organ resembling            ity for such an act. Endure specifies a continuing capacity_to
                this, as in some turtles, insects, or fish. 2. A hard, cone.            hce pain or harship. The remaining terms are more descnp-
                shaped, or pointed structure or part. 3. Informal. A person's           ttve of the marmer of withstanding or accepting. Stand mi-
     beaker     nose. [ME bek < OFr. bee < Lat. beccus, of Celt. orig.]                 plies resoluteness of spirit. Suffer and the less cmphaUC
                -beaked (bfkt) adj.                                                     abide suggest resignation and forcbearance. Tolerate, in its
               beak-er (bf'kor) n. 1. A large drinking cup with a wide                  principal application (to something other than pain), coo·
                mouth. 2. An open glass cylinder with a pouring lip, used as            notes reluctant accep tance despite mental reservations. .
                a laboratory container. [ME biker < ON bikarr, prob. <                        Usage: In its literal sense the past paniciple born "
                 Med. Lal bicarius < Gk. bikos, jug.]                                   used only of mammals and only in construction with to be:
                        {bfm) n. 1. A squared-off log or large, oblong piece of

                                                                                                                                                      r•
                                                                                        The baby was born. (It may also be used figuratively: A star
                 umber, metal, or stone used esp. in construction. 2. The               is born.) Borne, said of tbe act of birth, refers only to the
                 breadth of a ship at the widest point. 3. Informal. The width          mother's role, but it can be used actively or passively:
                 across a person's hips. 4. A steel tube or wooden roller on            has borne three children. Three children were home by _er
                 which the warp is wound in a loom. 5. An oscillating lever             (but born to her). In all other senses of bear the past parUO·
                 connected to an engine piston rod and used to transmit                 pie is borne: The soil has borne abundant crops. Such a bur·
                 power to the crankshaft. 6. The bar of a balance from which            <kn cannot be home by anyone.
                 weighing pans arc suspended. 7. One of the main stems of a           bear" (bAr) n. 1. a. Any of various usually omnivorous ma/II·
                 deer's antlers. 8. The main horizontal bar on a plow to                mals of the family Ursidac, having a shaggy coat and a short
      bear 2
                 which the share, colter, and handles arc attached. 9. a. A
                 ray of light. b. A group of panicles traveling together in
                                                                                        tail and walking with the entire lower surface of the
                                                                                         touching the ground. b. Any of various animals, such as c
                                                                                                                                                     ft
               ii pat I a pay I Ar~ I A father / b bib / ch churdt / d deed / e pet / c be / f fife / g gag / h bat / hw which / i pit / i pie / ir pier /
               J Judge/ k kick / I lid, needle/ m mum /LAIBO       - 000409
                                                        n no, sudden  / ng thing / o pol/ o toe / ii paw, for / oi noise / ou out / oo took / 60 l,aOt 1     /


                                                                                                                                                             L
                               handle  I
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                                      hangover        Document 26-3 Filed 09/27/22 Page 5 of 10
                                                        LAIBO - 000410
                                                                                                                 hands, esp. in a · variety of ways                               s..
                                       han-dle (hln'dl) v. -died, -dllng, -d-. -~r. 1. To touc~, lift:
                                        or hold with the hands. 2. To operate with_th~ hand~, ma                3. Useful; convenient: a handy gadge· R.eadily                     -~
                                        aipulate. 3 . To deal with or have respon_s1b1lity for, co~;             handle: a handy reference book. [< II>.~- 4. f:ai a~_
                                        duct· handle corporation law. 4. a. To dtrect, exec~IC:,               hand•y•man also handy man .(han'd 0 -l
                                                                                                                does odd jobs or various small tasks ~-man•) ll<l•1-~,,
                                                                                                                                                                           -hl
                                                                                                                                                                           to u'.1\
                                                  of· handle an investment. b. To manage, adrruruster                                                                  0
·,                                      10 or rep~esent· handle a boxer. 5. To confront or cope
                                        w;'th· handle a c;owd; handle a problem. 6. To deal or trade
                                        in the purchase or sale of: the branch office that hf!ndles
                                                                                                               hang (hllng) v. hung (hiing), hang-I·
                                                                                                                 fasten from above with no support               '7'•
                                                                                                                                                              ha11111
                                                                                                                2. To suspend or fasten so as to allowrfrn bc1 · -,,. 1)
                                                                                                                                                                         · Ori, \
                                                                                                                                                                                  1\

                                        grain exporu. -intr. To act or function under operalt~n:
                                        car that handles well in the snow. -n. 1. A part that ts de
                                                                                                                about the point of suspension: hang a
                                                                                                                past participle hanged or hung. To Cl( Oor, 3
                                                                                                                                                                  rn Jee          ·i
                                        signed to be held or ~rated with the hand. 2. An opporl'!-               by the neck. 4. To fix or attach at a Ccute by su 1"",11
                                        nity or means for achieving a purpose. 3. Slang. A person s             hang a scythe to its handle. 5. To altc~ appropri/~ I
                                        name. 4. The total amount or money bet on an event or over               ment) so as to fall eyenly at a specified h:.hc hen-, \' a~
                                        a set       'od of time. [ME handelen < OE handl,an.)                   decorate, or appoint by suspending ~ft.e,lor''             0
                                                                                                                                                                                  11,:
I·                                     han-d~ar (hin'dl-bllr') n . . Often handlebara. A ~urved
                                        metal steering bar, as on a bicycle.                    ·
                                                                                                                about: hang a room w11h curtains 7 T lCCts a, u,~
                                                                                                                                                               O
                                                                                                                downward; let droop: hang one's head i hold ~ ."'1
                                       handlebar mustache n. A long, curved mustache resem-                      tach to a wall: hang wallpaper. 9. To d " so,,,,,._ 0 11i<li\
                                        bling a handlebar.                                          .            failing to rende~ a unanimous verdic~dlock (a 8j/o
                                       han-dler (hind1:ir) n. 1. One that handles something.                     throw (a pitch) m such a manner so              10. Ba.,,i.,()~
                                        2. Sports. a. A person who trains or exhibits an arumal,                 -intr. 1. To be attached from above With to faiJ to 1 Yo
                                        such as a dog. b. A person who acts as the trainer or second             below. 2. To die as a result of hangin          no sul>l>on'~ 0
                                        or a boxer.                                                              pended or poised over a place or object~·h3• To 'etna;/~
                                       han•clllng (hind'IIng) n. 1. The act or an instance or one               oneself as an impediment or dependent'. crer. 4, loa io.
                                        that handles ·something. 2. The way in which a matter, esp.             downwar~; drooJ>. 6. To depend: everyrh:~g. S. 'J'o i 1
                                        a delicate one, is taken care or. 3. The way in which a pre-            comm/llee s dects1on. 7. To pay strict att g .hang,~
                                        sentation, esp. an artistic or theatrical work, is treated.             every word. 8. To remain unresolved or u;ntion: ha,,                       h
                                       hand•made (hind'mlld') adj. Made or prepared by hand                     ture hung in the balance. 9. To fit the body ~7a1n: //,,1 ~
                                        rather than by machine.                                                 dress that hangs well. 10. To be on display a ?Ose hnci,1
                  handlebar mustache   hand·mald (hind'mlld') also hand•mald•en (-mad'n) n.                      11. Baseball. To fail to break or move in the .s in a &all~
                                        1. A female servant or attendant. 2. Something that serves              as a curve ball. -phrasal verbs. hang aro~ntendtd "'i°
                                        as an aid.                                                               1. To spend time idly; loiter. 2. To keep cornprtd. 1nfo,,,,;j
                                       hand-me-down (hiind'me-doun') adj. 1. Handed down to                     hang back. To be averse; hold back. hang , ; COn50n
                                        one person after being used and discarded by another. 2. or             back ; be a~erse. hang on. 1. To cling tightly t~; lo h~
                                        inferior quality; shabby. -n. Something passed on from                  2. To continue persistently; persevere. 3. To k orne1~\
                                        one person lo another.                                                  phone connection open. hang onto: To hold or cm' a_ le',,
                                       hand-off (hind'0f', -of') n. Football. A play in which one
                                         player hands the ball to another.
                                                                                                                to. hang out. Slang. To spend one's free tirne in                t'lh~
                                                                                                                place. han11 together. 1. To stand united; stick t cellaii
                                       hand organ n. A barrel organ operated by turning a crank.                2. To constitute a coherent totality. hang up.1, To~Uiu.
                                       hand•out (hind'out') n. 1. Food, clothing, or money given to             on a hook or hanger. 2. To replace (a te1ephone rece;llSJ>ail
                                         a beggar. 2. A folder or leaflet circulated free or charge.            its cradle. 3. To retard or impede; hinder: hang up a;~) ~
                                         3. A prepared news or publicity release.
                                       hand-pick (hiind'pfk') tr.v. -picked, -plck•lng, splcks. 1. To
                                                                                                                4. To halt the movement or action of. 5. To end a telcpfiot

))                                       gather or pick by hand. 2. To select personally. -hand'·
                                         picked' adj.
                                       hand•prlnt (hand'print') n. An outline or an indentation left
                                         by a hand on a surface.
                                                                                                                conversati,:m. 6. To become halted or snagged. -•. 1.
                                                                                                                way m which something hangs. 2. A downward inclinalio,
                                                                                                                or slope. 3. Particular mearung ?r significance. 4. Injorrr,1.
                                                                                                                The proper method for domg, usmg, or handling sornethini
                                                                                                                                                                                           h

                                                                                                                                                                                           h

                                        hand puppet n. A puppet (sense 2).                                      get the hang of it. 5. A suspension of motion; slack~
                                                                                                                -Idioms. give (or care) a hang. To be concerned or an,.                    h
                                        hand•rall (hand'rl!l') n. A narrow rail to be grasped with the
                                         hand for support.                                                      ious. hang fire. 1. To be slow in firing, .as a gun. 2. Todcby.             I
                                        hand•saw (hind'S<°>') n. A small saw operated by hand.                  hang In there. Informal. To persevere despite difficultie1
                                        hand's-breadth or hand's breadth (hiindz'bredth') n.                    persist. hang loose. Slang. To stay calm or relaxed. "1111
                                         Variant of handbreadth.                                                tough. Informal. To remain firmly resolved: " We areglli•J
                                        hand•ael (hiind's:il) also han•sel (hiin'-) Chiefly Brit. -n.           to hang rough on this" (Donald T. Regan). let It all hangoA
                                         1. A gift to express good wishes at the beginning of a new             Slang. 1. To be completely relaxed. 2. To be complcidJ
                                         year or enterprise. 2. The first money or barter taken in, as          candid. [ME hongen, partly < OE hangian, to hani and                        I

                                                                                                                partly < OE hon, to hang.)                                                 h
                                         by a new business or on the opening day of business, esp.                                                                                          I
                                         when considered a token of good luck. 3. a. A first pay-                     Usage: Hanged, as the past tense and past participlc d
                                         ment; earnest money. b. A specimen or foretaste of what is             hang, is used in the sense of "put to death by hanginf II
                                         to come. -tr.v. -aeled, -aeMng, -eels or -selled, -seMlng,             the following example hung would be unacceptable to am>
                                         -aela. 1. To give a handsel to. 2. To launch with a ceremo-            jority of the Usage Panel: Frontier courts hanged many•                     I
                                         nial gesture or gift. 3. To do or use for the first time. [ME          prisoner after a summary trial. In all other senses of lh<                 h
                                         hanselle < OE handselen and ON handsal, transfer.)                     word, hung is the preferred form as past tense and P"'                     h
                                        hand•set (hand'set') n. A portable telephone transmitter and            participle.                                                         .      h
                                         receiver module.                                                      han•gar (hiing';}r, hiing'g;}r) n. A structure esp. for ho\llllll
                                        hand•shake (hllnd'shllk') n. The grasping of right hands by             or repairing aircraft. [Fr. < OFr., prob. < Med. Lat. 011f
                                          two people as in greeting or leave-taking.                            rium, shed for shoeing horses.)                                guil
                                        hands-off (hllndz'0f', -of') adj. Characterized by noninter-           hang•dog (hiing'dog'. -dog') adj. 1. Shamefaced_ orble;:
                                         vention: a hands-offforeign policy.                                    2. Downcast; intimidated. -n. A sneaky or desp,ca                          h
                      hand organ        hand•son:ie (han's:im) adj. -aom-er, -aom•eat. 1. Pleasing              son.                                                        . anceW         I
                                         and d1gruf1ed m form or appearance. 2. Generous or copi-              hang•er (hing';lr) n. 1. One that hangs. 2. A ~ntn~~3.I                     h
                                         ous: a_handsome reward. 3. Marked by or requiring skill or             which something hangs or by which somethmg h\g f,olD  15

                                         dextenty: did some handsome maneuvers on the skating rink              device around which a garment is draped for han~tml\! j
                                         4. Appropriate or fitting. 5. Moderately large. (ME hani               a hook or rod . 4. A loop or strap by whi<;h so~acil• dt                    t
                                                                                                                                                                                           h,
                                         som, handy.) -hand'aome•ly adv. -hand'aome•neas n.                     hung. 5. A bracket on an automobile's sp!1ng :npordoih                      I
                                        h~nds-on _(hindz'on', -On') adj. Involving active participa-            signed to hold it to the chassis. 6. A decorative s
                                                                                                                                                                                            t
                                         tion; apphed,        opposed to theoretical: "We're involved in        hung on a garment or wall.                             -on (h!n!'          h1
                                         hands-on operations, pulling levers, pushing buttons" (Arthur         hang•er-on (hang';}r-on', -on') n., pl. hang-el'I                .          h1
                                          R. Taylor).                                                           :)rz-). A sycophant; parasite.       .         . frorn "~ch 1
     i" •!                                                                                                                                                                                  C
                                        hand•splke (hllnd'spfk') n. A bar used as a lever.                     hang glider n. A device resem~hng a kiteheighl-                       ,
     ir ,1                              hand•sprl~g (hllnd'spring') n. A gymnastic feat in which the            harnessed rider hangs while glidmg fro'!' a              a gall0"d·
                                                                                                                                                                                            I
                                                                                                                                                                                            C
                                         bod_y ts fltpp~ compl_etely_ forward or backward from an              hang•lng (hing'ing) n. 1. An execuuon O . Adese'ti•·        °                I
     · ·''.1
           I                              upnght pos111on, landmg first on the hands, then on ttie              2. Something hung, as draperies or.a tapeS try.a3shaf\'de'f~               h1
     1                                    feet.                                                                                                                                su,11
:i I.                                                                                                                                                                                      •
                                                                                                                ing slope or inclination. -adj. 1. Situated_ on 3.                  bl
                                        hand•stand (hind'stind') n. The act of balancing on th                  1ty. 2. Projecting downward; overhanglllJ;._.ng dta en<'                   h1
I        ,                                hands with one's feet in the air.                            e        holding something that hangs. 4. a. D~ flict the s,nl
                                        hand-to-hand (hand't>hind') adj. Being at close quart                   hanging: a hanging crime. b. Disl'osed to ll1             _       aro·      (
                                        hand-to-mouth (hand't:>-mouth') adj. Having or provid':rs.              of death by hanging: a hanging Judge. r cry Jine ,n 3 P                    h,
                                          only the bare essentials.                                  mg        hanging Indention n. The indention° ev                         e ~-          (
                                        hand-wo~ (hind'wOrk') n. Work done by hand rather th                    graph except the first.                              exeCU 1                5
                       handstand          by machine.                                                 an       hang•man 1hing'm:)n) n. One employed 10                     . ,ti           h1
                                        hand•wo•v~n (hind'w0'v:m) adj. 1. Woven on a hand-oper-                 demned prisoners by hanging.           .
                                                                                                                                                                                1
                                                                                                                                                                dead skl';.J'r1""'          I
                                           ated loom. handwoven rugs. 2. Woven by hand · ha .,_ .              hang•nall (hing'nal') n. A small P•<:Cc oftly detach                         I
                                           baskets.                                        · nu woven           s1de ·or the base of a fingernail that 1s par I                             /
                                         hand•wrlt•lng (~~d'rI'ting) n.. 1_. Writing done with the              the rest of the skin. (Alteration of AGNAl~ place, ,rr"''
             I,                            hand. 2. The wntmg charactenst1c of a particular                    hang•out (hing'out') n. A frequently V1 511 physic•1 a11o 1
       •I                                hand•y (han'de) adj. -1 ..,, -1'8al 1. Skillful in usin~e~~~~         hang-o•ver (hang'o'v:)r) n. 1. Unpl~~etdown,   1           a.s
                                                                                                                following the heavy use of alcohol. 2.                                 1
                                        ll pat / ll pay I Ar care / a father / b LAIBO      - 000410                                                                                1
                                                                                                 I d deed I                                         .
                                                                                 bib / ch church                                                                    . 1irb0'
                                                                                                                                                            fl / i pie   P1~ ,             ij
                       hang glider                                                                                                                                           1
                                        j judge/ k kick / I lid needle I m mum I              dd
                                                                                                    I
                                                                                                            e pet/ e be/ f fife/ g gag/ h hat/ hw which I 1P_ took I 61>
                                                                '                     n no, su en ng thing/ o pot/ o toe/ o paw, for / oi noise / ou out 1 60
203
                Case 6:22-cv-00001-ADA Document 26-3 Filed 09/27/22   Page I6brainwash
                                                                 brachyuran   of 10
 as cenain insects. [Gk. brakhupteros : brakhus h
 ron, wmg.] -bra•chyp'ler-lam (-t~-riz'~m) n • s Ort + pte-              LAIBO - 000411
                                                                           ~oz w~ch al l being_ originates and to which all returns.
brach·y·u•ran (brak'e-yoor';m) also bra h ·                                  ·, so rah:mln (-mm). Hinduism. A member of the high-
 brach•y·u•rous (-~s) adj. Of or belongin~ t~~·::-r;i (~l) or              ~on~t{yte,dongi;alldy composed of priests but now occupa-
 a grour, of crustaceans characterized by a shirt ~bed yura.                            1vers1 1e . 3. Also Brah•ma (-ma) or Brah•mln
 concea ed under the cephalothorax and including theo~~~                   (-min). One ? fa breed of domestic cattle developed in the
 crabs. -n. A member of the Brachyura. [< NL t B                           ~outhern Unned States from stock origi nating in Ind ia and
 ura, name suborder : Gk. brakhus short + Gk a · rac~y -                   1 avm[fka hi ump between the shoulders and a pendulous dew-
brac-lng (bril's~ng) adj. Invigorati~g. -brac'tng:t;':;~. tail .)           ap.    I. -Brah•man'lc (-man'ik). Brah•man'l-cal adj
brack•en (bralc ~n) n. 1. A fem, Pteridium aquilinum h ·
 tough stems and _branching, finely divided frond~ r~g
 area overgrown with bracken . 3. A large, coarse fer'n . [·M~
                                                                           ml-)  n
                                                                          Brah•man•lsm (br_a'ma-niz'am) also Brah•mln•lsm (bra'-
                                                                                   1. Th_e religious practices and beliefs of ancient Ind ia
                                                                           as ~e ected m the Vedas, the earliest religious texts 2 The
 braken, prob. of Scand. ong.]                                             f:~~ I caste system of the Brahmans of India. -Br~h.;,,an·
brack•et (brilk'lt) n. 1. simpl_e rigid structure in the sha e


                                                                                                                                                                               (
 of an L, one           of ~hich 1s fixed to a vertical surface ,te       Brah:mln (brii'min) n. 1. A highly cultured and socially ex-
 ot~er proJectmg honzontally. to support a shelf or ~ther                  clusive pe~son. esp. a member of one of the old New Eng-
 weight. 2. A wall-anchored fixture adapted to support a                   land farm~es . 2: Variant of Brahman (senses 2. 3).
  load. 3. A small s~elf or shelves supported by brackets                  -Brah·mln le (-rmn'ik), Brah•mln'l·cal adj.
  4. a. father of a _pair of symbols, [ ], used to enclose writte~        Brah•mln•lsm (bra'mi-niz'am) n. 1. The attitude or conduc t
  or pi:inted ~atenal or to md1c~te a mathematical expression              typical of a social or cultural elite. 2 . Vari ant of Brahman-
                                                                           ism.
  co~s1dered m some sense a_ single quantity. b. Either of a
  pa.tr of symbols,  < >:     s1!'11larly used and in mathematics         braid (brad) tr. v. brald·ed, brald·lng, braids. 1 . To inter-
 use<!     ~sp. together to md1cate the average of a contained             weave _three or more strands of; plait. 2 . To decora te or
                                                                           edge wit_h an ornamental trim. 3. To produce by interweav-
  quan~ty. c. Math. A brace (sense 12). 5. A classification or
  gro4pm\l, esp. of taxpayers according to income. 6. The                  ing:_ braid a rug. 4. To fasten or decorate (hair) with a band
  space between two rounds of artillery, the first aimed be-               or nbbon. -n. 1. A narrow length of fabric. hair. or other
                                                                           matenal that has been braided or plaited. 2. A thin. fl at
  yon~ a_ target and the second aimed short of it, used to                 wove": strip of cloth used for binding or decora ting fabrics.
  detefl!Une range. -tr. v. -et-ed, -et·lng, -ets. 1. To support            3. A nbbon or band used to fasten the hair. (ME braiden <
  with a bracket or brackets. 2. To place within or as if within           OE bregdan, to weave.] -brald'er n.
  brackets. 3. To classify or group together. 4. To fire beyond           brald·ed (bra'did) adj. Flowing in an interconnected net-
  an<I short of ( a targe_t) m order to determine range. Io Fr.            work of channels: a braided stream.
  braguette, codpiece, dim. of brogue, breeches < OProv. braga            brald·lng (bra'dlng) n. Braided embroidery.
  < Lat. bracae. J                                                        brall (bral) n. A line used to furl loose-footed sails. -tr. v.
bracket f~rigus n. Any of various fungi that form shelflike                bralled, brall·lng, brans. To gather in (a sail) with brails.
  growth~ on 1ree trunks and wood structures.                              [ME brayle < OFr. brail, belt < Med. Lat. bracale < Lat.
 brack•lst, (brilk'lsh) adj. 1. Containing some salt· briny·               bracae, breeches.)
  brackish water. 2 . Distasteful ; unpalatable. [Du'. brak.i             Braille also braille (bral) n. A system of writing and print-
  -br•pk'lah•ness n.                                                        ing for the blind, in which varied arrangements of raised
 bract (brilkt) n. A leaflike plant part, usually small but                dots representing letters and numerals can be identified by
   5?metim~ showy and sometimes brightly colored, located                   touch. [After Louis Braille (1809- 1852).)
   either . below l! flower or on the stalk of a flower cluster.          brain (bran) n. 1. a. The portion of the central nervous sys-
   [NLat. bractra < Lat. gold leaf.] -brac'te·al (brilk'te-~I) adj.         tem in the vertebrate cranium that is responsible -for the
 brac-te•ai. (brilk'te-it, -lit') adj. Bearing bracts. (NLat. brac-         interpretation of sensory impulses, the coordination and
   ·teatus < brae/ea, gold leaf.]                                           control of bodily activities. and the exercise of emotion and
 brac-te·o·late (bralc'te-~-Ut, -lilt' ) adj. Bearing bracteoles.           thought. b . A functionally similar portion of the inverte-
 brao·te·ole (brak'te-61') n. A small or secondary bract.                   brate nervous system. 2. brains. Intellectual capacity. 3. In-             bracket fungus
    [NLat. bracteola < Lat., dim. of brae/ea, gold leaf.]                  formal. A highly intelligent person. 4. Often brains. The
 brad (brad) n. A tapered nail with a small head or a slight                supreme planner, as of a movement. 5. An automatic de-
    side projection instead of a head . [ME < ON broddr, spike.]            vice, as a computer, that is central to a computation or
 brad•awl (brlld'61') n. A small awl with a chisel edge, used to            control process. -tr. v. brained, braln·lng, brains. 1. To
    make holes m wood for brads or screws.                                  smash in the skull of. 2 . Slang. To hit on the head. -Idi-
 brady- pref Slow: bradycardia. [NLat. < Gk. bradus, slow.]                 oms. on the brain. Obsessively in mind. rack (or beat)
 brad·y•car-dl•a (brad'i-kar'de-~) n. Abnormally slow heart-                (one's) brains. To think as hard as one can. [ME < OE
     beat, as less than 60 beats per minute. [BRADY· + Gk. kar-             bra,gen.]
    dia, heart.) -brad'y•car'dlc (-dik) adj.                              brain case n. The brainpan.
 brad•y•lex•l•a (bril.d'i-lek'se-~) n. A slowness of reading not          brain child n. Informal. An original idea or plan attributed
    ·attributable to lack of intelligence. [BRADY- + Gk. lexis,             to a specific person or group.
     speech < legein, to speak.]                                          brain _coral n. Any of several corals of the genus Meandrina,
 br~d•y•lo-gla (briid'~-lo'j~, -je-~) n. Abnormally slow                    fonrung rounded colonies that resemble the human brain.
     speech. (NLat. : BRADY- + Gk. -logia, -logy.]                        brain death n. Death as evidenced by absence of cen-
  brae (brii) n. Scot. A hillside; slope. (ME bra < ON bra,                 tral-nervous-system activity. -braln'-dead' (bran'ded') adj.
     eyelid.]                                                             brain drain n. The emigration of professionals, as scientists
  brag (briig) v. bragged, brag•glng, brags. -intr. To talk                 or scholars, to countries that offer higher-paid positions and
     boastfully. -tr. To assert boastfully. -n. 1. Arrogant or              better living conditions.
     boastful speech or manner. 2. Something boasted of. 3. A             brain-drain (bran'dran') v. -drained, -draln·lng, -drains.
     braggart; boaster. 4. A card game similar to poker. -adj.              - intr. To emigrate to another country usually for a more
     brag-ger, brag·gesL Exceptionally fine. [ME braggen <                  highly paid position or better living conditions. -tr. To
     brag, ostentatious.] -brag'ger n.                                      persuade (a scientist, for example) to brain-drai n.
  brag-ga•do•cl•o (brag'~-do'se-6', -she-6', -sho) n., pl. -os.           brain fever n. Encephalitis.
     1. A braggart. 2. a. Empty or pretentious bragging.                  braln•less (bri!n'lis) adj. Devoid of intelligence; stupid.
     b. Swaggering manner; cockiness. [Alteration of Braggadoc-             -braln'less•ly adv. -braln'less•ness n. ·
     chio, the personification of vainglory in The Fairie Queene           braln•pan (bran'pan') n. The part of the skull that contains
     by Sir Edmund Spenser (1552-1599).j                                    the brain; cranium.
                                                                                                                                                   cerebellum
  Bragg angle (brag) n. The angle between an incident x-ray                braln-plck·lng (bran'pik'ing) n. The act of probing anoth-
     beam and a set of crystal planes for which the secondary               er's mind for information. -braln-plck'er n.
     radiation displays maximum intensity as a result of con-              braln•pow•er (bran'pou'~r) n. 1. Intellectual power or abil-
     structive interference. (After William Henry Bragg                     ity. 2. People with well-developed mental ability.
     (1862-1942) and William Lawrence Bragg (1890-1971).]                  brain scanner n. A CAT scanner used to x-ray the brain.
   brag•gart (brag'~rt) n. One given to loud, empty boasting;               -brain scan n.
     bragger. -adj. Boastful. [Fr. bragard < braguer, to brag,             braln•slck (bran'sik') adj. Of. pertaining to, or induced by
      perh. < ME braggen.]                                                  insanity ; mad. -braln'slck'ly adv. -brain'slck'ness n.
    Bragg's law (bragz) n. The fundamental law of x-ray_ crys-             braln•stem (bran'stem') n. The part of the brain consisting
      tallography, nX = 2dsin8, where n is an integer, )I. 1s the           of the medulla oblongata, pons. and mesencephalon and
      wavelength of a beam of x rays incident on a crystal with             connecting the spinal cord to the forebrain and cerebrum.
      lattice planes separated by distance d, and e is the Bra~            braln•storm (bran'storrn') n. 1. A sudden and violent distur-
      angle. [After William Henry Bragg (1862-1942) and Wil-                bance in the brain. 2. a. A sudden clever idea. b. A foolish
      liam Lawrence Bragg (1890-1971).]                       .             idea.
    Bra~•ma1 (brii'm~) n. Hinduism. 1. The personification of              braln·storm•lng (bran'st6r'ming) n. A method of shared
      diyme r~ality in its creative aspect as a member of the               problem-solving in which all members of a group spon tane-
      Hindu tnad. 2. Variant of Brahman (senses I, 3). [Ski. brah-          ously contribute ideas. -braln'storm' v. (-stormed, -storm·
      man.]                                                                 Ing, -storms) . -braln'storm 'er n.                                                         pons
     Brah•ma• also brah•ma (brii'm~. bra'-) n. A large domestic            brains trust n. Chiefly Brit. A brain trust.             . .
      fowl of a breed originating in Asia and having feathered             brain trust n. A group of experts who serve as unoffic,al
      legs. [After the Brahmaputra River in southern Asia.]                 advisers and policy planners, esp. in a government. -brain              spinal cord
     Brah•man (brii'm~n) n. 1. Also Brah·ma (-ma). Hinduism.                truster n.
      The essential divine reality of the universe; the eternaJ spirit     brain•wash (bran'w6sh', -wash') tr. v. -washed, -wash•lng,                           brain


  P pop/ r roar/ s sauce / sh ship, dish / t tight/ th thin, path / th this, bathe / ii cut/ ur urge / v vaJve / w wi th / Yyes/ z zebra. size /
  zh vision / about, item, edible, gallop, circus / a, Fr. feu, Ger. LAIBO            - 000411
                                                                         schiin / U Fr.  tu, Ger. Uber / K H Ger. ich, S cot. loch/ N Fr. bon.
               I
           enfold enjambment
            Case 6:22-cv-00001-ADA                       Document 26-3 Filed 09/27/22 Page 7 of 10
                                                                                                                                                         4~     - J

               en-fold (co-fold') tr. v. -fold-eel, -fold•lng, LAIBO  _1. _T-o 000412
                                                                               .co~er   ten englleh. The spin given to a ball by strikin .
                 with or as if with folds ; envelop. 2. To hold within linuts ;         side or releasing it with a sharp twist. - tr.v. -ll~~t 0 n on,
                                                                                        Ing, -ll•h--•. 1. To translate into English. 2. To ;t• -11,~.
                 enclose. 3. To embrace. -en-told'•r n.                                 English; Angliciu:. (ME Englisch < OE Englisc < aE apt into
               en-force (tn-ftJrs', -f6rs') tr. v. -forced, -fore-Ing,                  Angles.]                                                  ng/,, th,       e'
                  1. To compel observance of or obedience to: enforce a regu-         Englleh     daisy n, The daisy (sense 2).
                  lation. 2. To compel. 3. To give force to; reinforce. [ME en-
                                                                                      English flnleh n. A smooth, nong]ossy finish r~r
                 forcen < OFr. enjorcier, to make strong< VLat. •infortiare :
                  i11-, in + fortis, strong.] -en-force'a-ble adj. -en-force'-
                                                                                      English horn n. A double-reed woodwind mus; pa~cr.                          ,,i
                  ment n. -en-forc'er n.                                                by a fifth.
                                                                                                                                                   1
                                                                                        ment similar to but larger than the oboe and pitcc; 0 stf\J. J
                                                                                                                                                  c low,,
                                                                                                                                                                   I
               en•fran-chlH (tn-frAn'chiz') tr.v. -chlMCI, -chle•lng,_ -chi••                                                                                     }
                                                                                      Eng•llsh•man (fng'glfsb-mQn) n. A man who is Eng1·                           I
                  " · 1. To bestow a franchise Ui;><!D, 2. To endow with the            birth, descent, or naturalization.                           •sh by
                  rights or citizenship, esp. the nght to vote. 3. To r~ee, as
                  from bondage. (ME enfraunchisen < OFr. enfranch,r, en-              English muffin n. A flat round of yeast dough that h "--·
                                                                                        b~ed on a griddle and is usually split and' toastedasbc""<ll
                 franchiss- : en- (causative < Lat. in-, in) + franc, free. -see       eatmg.                                                           fare
                  FRANK']                                                             Englleh plantain n. Ribgrass.
               en-gage (cn-glij') v. -gaged,                  -gag,.•. -tr. 1. To
                  obtain or contract for the semces of; employ: engage a              English setter n. A dog of a breed developed in Engl
                  carpenter. 2. To contract for the use of; reserve: engage a           having a silky white coat usually with black or bro ~d,
                                                                                       markings.                                                      wrush
                  room. 3. To obtain and bold the attention of; engross: en-
                                                                                      English sheepdog n. The Old English sheepdog.
                  gaged her interest Jo• months. 4. To require the use of; oc-        English sonnet n. A Shakespearean sonnet.
                  cupy: Studying engages most of a student's ti~e. ~- To pled_ge
                  or promise, esp. to marry. 6. To enter or bnng 1Dto conflict        English sparrow n. The bous~ sparrow.
                  with: We have engaged the enemy. 7. To interlock or cause           English walnut n. 1. A Eurasian tree, Jug/ans regia cul .
                  to interlock; mesh. 8. To attract; win. 9. To entangle; in-          vated in southern Europe and California. 2. The la;gc ~-
                  volve: engage someone in idle chauer. 10. Archaic. To give or        ible nut of the English walnut tree.                                 ·
                  take as security. -intr. 1. To involve oneself or become oc-        Eng•llsh•wom•an         (fng'glfsb-woom'~n) n. A woman who •
                                                                                        English by birth, descent, or naturalization.                      •s
                  cupied; participate: engage in conversation. 2. To assume an
                  obligation; agree. 3. To enter into conflict or battle. 4. To       en•glut (en-g]iit') tr. v.. -glut•ted, -glut•t1ng; -gluts. To gulp
                  become meshed or interlocked. [ME engagen, to pledge                 down; swallow greedily. [OFr. englot,r < I.Lat. inglutire .
                  something as security for repayment of debt < OFr. _enga$er           Lat. in-, in + Lat. g/uuire, to swallow.] .                         ·
                   : en-, in (< Lat. in-) + gage, pledge, of Germaruc ong.]           en•gorge (en-gorj') v. -gorged, -gorg•lng, -gorg-es. -tr
                                                                                        1. T~ devour greedily. 2. To_ gorge; glut. 3. To fill to excess'.
                   -en-gag'er n.                                                       as with blood or ·other fluid. -mtr. To feed ravenously
                en,ga,ge (tn'gll-zbil') adj. Actively committed, as to a politi-
                   cal cause. (Fr., p.part. of engage,, to engage < OFr.]              (OFr.   engorgier: en-, in(< Lat. in-) + gorge, throat< Lai'
                en-gaged (tn-glijd') adj. 1. Employed, occupied, or busy.              gurges, gulf.] -en-gorge'ment n.                                     ·
                   2. Committed to. 3. Pledged to marry: an engaged couple.           en•graft (en-graft') tr. v. -graft-ed, -graft·lng, -grafts.. 1. To
                   4. Involved in conflict or battle. 5. Being in gear; meshed.        graft (a scion) onto or into another plant. 2. To plant
                   6. Partly sunk, built into, or attached to another part, as         firmly; establish. -en-graft'ment n.
                   columns on a wall.                                                 en•gralled (en-gral'd) adj. 1. Indented along the edge with



)
                en•gage•ment (cn-glij'm~nt) n. 1. An act of engaging or the            small   curves. 2. Having an edge or margin formed by a ring
                   state of being engaged. 2. Betrothal. 3. One that engages.          of dots. [ME engrelen < OFr. engres/er : en-, in(< Lat. in-)
                   4. A promise or commitment to appear at a certain time;              + gresle, slender < Lat. gracilis.]
                   appointment. 5. a. Employment, esp. for a specified time.          en·graln (en-gran') tr. v. -grained, 11raln·lng, -grains. To in-
                   b. The period of employment. 6. A battle or encounter.              grain. (ME engreinen, to dye red < OFr. engrainer, to dye <
    J              7. The condition of being in gear.                                  en graine, in cochineal dye.]
                en,gag•lng (tn-gli'jfng) adj. Tending to attract; charming.           en•gram also en•gramme (en'gram') n. A hypothetical al-
                   -en-gag'lng•ly adv.                                                 teration of living neural tissue, posited as an explanation for
                en garde (IIN ,11rd') interj. Used to warn a fencer to assume          memory.
                   the first position preparatory to a match. (Fr. : en, on +         en•grave (en-grav') tr. v. -graved, -grav•lng, -graves. 1. To
                   garde, guard.I                                                      carve, cut, or etch into a material. 2. a. To carve, cut, or
                en,ga,.land (en-glir'fand) tr. v. -land•ed -land•lng, -lands. To       etch into a block or surface used for printing. b. To print
                   encircle or deck with or as if with a garland.                      from a block or plate made by such a process. 3. To impress
                en,gen'Cler (en-jtn'd~r) v. -dared, -der-lng, -dere. -tr. 1. To        deeply. -en•grav'er n.
                   bring into existence; give rise to. 2. To procreate; propa-        en•grav·lng     (fo-gra'vfng) n. 1. The art or technique or one
                   gate. -intr. To come into existence. (ME engendren < OFr.           that engraves. 2. An engraved surface for printing. 3. A
                   engendrer < Lat. ingenerare : in-, in + generare, to produce        print made from an engraved plate or block.
                   < genus, birth.]                                                   en·gross (en-gros') tr.v. -grossed, -groas•lng, -gross-et.
                en,glne (en'jfn) n. 1. a. A machine that converts energy into          1. To occupy the complete attention of; absorb. 2. To ac-
                  mechanical motion. b. A mechanical appliance, instrument,            quire most or all of a commodity; monopolize a market.
                  or tool: engines of war. 2. A locomotive. 3. Archaic. An             3.  a. To write or transcribe in a large, clear band. b. To
English horn      agent, instrument, or means of accomplishment. (ME engin             prepare the text of (an official document) by writing or
                   < OFr., skill < Lat. ingenium.]                                     printing. [Partly < ME engrossen, to collect in large quantity
                engine block n. The cast metal block containing the cylin-             < OFr. engrossier < en gros, in large quantity, and partly<
                  ders of an internal-combustion engine.                               ME engrossen, to write in a large band < AN engrosser,
                en,gl•neer (tn'jQ-nir') n. 1. A person trained or profession-          prob. < Med. Lat. ingrossare : Lat. in-, in + grossa, a copy
                  ally engaged in a branch of engineering. 2. A person who             in a large band < Lat. grossus, thick.) -en,.ross'er n.
                  skillfully or shrewdly manages an enterprise. 3. A person           en•gross•lng (en-gro'sing) adj. Occupying ·one's complete
                  who operates an engine. -tr. v. -neered, -neer•lng, -neers.          attention;   wholly absorbing. -en-gross'lng•ly adv.
                  1. To plan, construct, and manage as an engineer. 2. To             en•gross•ment (en-gros'm~nt) n. 1. The act of engrossing.
                 plan, manage, and put through by skillful acts or contri-             2, The state of being completely absorbed, occupied, or.mo-
                 vance; maneuver. [ME engine, < OFr. engigneor < Med.                  nopolized.
                 Lat. ingeniator, contriver < ingeniare, to contrive < inge-          en•gulf (en-giilf') tr.v. --gulfed, -gulf-Ing, -gulls. 1. To sur-
                 nium, skill.]                                                         round and enclose completely. 2. To swallow up or over-
               en•gl•nee,.lng (en'jQ-nir'fog) n. 1. The application of scien-          whelm by or as if by overflowing and . enclosmg.
                 tific and mathematical principles to practical ends such as           -an-gulfment n.
                 the design, construction, and operation of efficient and eco-        en•hance (en-bans') Ir. V, -hanced, -hanc-lng, -hanc-ee .. To
                nomical structures, equipment, and systems. 2. The profes-             increase or make greater, as in value, beauty, or reputallO~;
                sion of or the work performed by an engineer.                          augment. (ME enhauncen < AN enhauncer < OFr. enhaucter
               en,glne•ry (en)In-re) n. 1. Machines and tools; machinery.              < VLat. •inaltiare : Lat. in- (intensive) + altus, high.]_,,.
                2. Engines or tnstruments of war.                                      hance'ment n. -en•hanc'er n. -en•hanc'lve adj.
               en-gird (tn-gOrd') 1,.v. -girt (-gOrt') or -gird-eel, -glrd•lng        en•ha,.mon·lc (tn'hllr-mon'lk) adj. Mus. Of, relating '?• or
                -glrde. To encircle.                                                '  involving the use of two different written representallo~
               en,glrd•le (tn-gilr'dl) tr. v. -died, -dllng, -dlH. To encircle or      such as C # to Db, for the same tone. [Fr. enharmomque .
                surround with or as if with a girdle.                                  OFr., of a scale employing quarter tones< Gk. enarmontOS ·
               en,gla-clal (cn-glli'sbQI) adj. Located or occurring within a           en-, in + harmonia, harmony.] -en'harmon'l-caMY at!V.·
                glacier.                                                              e•nlg•ma     (f-nfg'mQ) n. 1. An obscure speech . or wnung.
               Eng•llsh (fn$'glfsh) adj. 1. Of, pertaining to, derived from,           2. One that is puzzling, ambiguous, or inexpli~b!e. (La~
                or cbaractenstic of England, its people, or its culture. -n.           aenigma < Gk. ainigma < ainissesthai, to speak ID nddles
                1. The people of England 2. a. The West Germanic lan-
                guage of England, the United States, and other countries
                that are or have been under English influence or control.
                                                                                       ainos, fable.]
                                                                                      en•lg•mat-lc (cn1g.•mlit'lk) or
                                                                                       Of   or  resembling    an  enigma;   p
                                                                                                                             e~;~i;:nat-1-cal
                                                                                                                                  · g.
                                                                                                                                              (-f-kQI) Y·
                                                                                                                                                         ad'
                                                                                                                                       -en'lg•mat'l-cal-lY
                b. The English language of a particular time, region, person,          adv.
                or group of persons: American English. 3. A translation into          en•lele (tn-ll') tr. v. -lelecl, -leMng, -lslH. 1. To make into an
                ?r 81! equivalen1 in the English language. 4. A course or              island. 2. To set apart from others; isolate.                 .      ,
                1Ddivtdual ~)ass ID the study of English literature, language,        en•Jamb-ment or en·Jambe-ment (cn-jAm'mQnt, ·J_aDlb •
                or compos1uon. 5. Printing. A size of type, 14-point. 6. Of-           =nt) n. The continuation of a sentence from one line or

                                                                                                                                                         1
               Apat / ii pay / Ar care / a father / b bib / ch dlun:b / d deed / e pet / ebe / f fife / g gag / b bat / bw which Ii pill i pie / Ir pier
                                                              LAIBO       - 000412
               J Judge / k kick/ l lid, needle/ m mum/ n no, sudden/ ng thing/ o pot/ O toe/ 0 paw, for / oi noise / ou out / do took I 6o boOI
                                                                                                                                                         1
                              e Iearth
                      Case 6:22-cv-00001-ADA Document 26-3 Filed 09/27/22 Page 8 of 10
                                                                                                                                                                                         434
                                              e or E (e) n., pl. • •• or E'o. 1. The LAIBO        - 000413
                                                                                     fifth letter of the modem         contains an advertisement or weather info          .
                                               English alphabet. 2. Any of the speech sounds represented               oms. all ear•. Acutely attentive: ff you ..,:1a1ion. -,~
                                               by the letter e. 3 . Something like an E in shape. 4. e Math.                                                              T
                                                                                                                       story, _we're all ears. give (or lend) an ear. 10 tel{ , .,:;
                                                                                                                       a11enl1on lo. have (or keep) an ear to Iha r O Pay cl
                                               The base of the natural system of logarithms, having a nu-
                                               merical value of approximately 2. 718 ... . 5. The fifth in a           attention to or watch for trends or corning eee:~lld. To          J.':
                                               series. 6. E Mus. The third tone in the scale of C major. 7. A          and out the other. Heard but without influence S. In
                                                                                                                                                                        0
                                                                                                                                                                                      •no,;
                                               grade that indicates a student has failed to meet the stan-             ear. Without reference lo a score. play It· by• Tclfect, i,.,
                                               dard for acceptable performance.                                        vise. up to on•·· (or the) ..... Deeply involv:r O llllpro.
                                              each (fch) adj. Being one of two or more considered individ-             ears !n debt. [ME ere < (?E €are.] -ar'lesa ad' up to on,·,
                                               ually; every. -pron. Every one of a group considered in-               ear' (u) n. The seed-beanng spike of a cereal         f-
                                               dividually; each one. -adv. For or to each one; apiece: ten             corn. -intr. v. eared, ear·lng, ears. To form ~rant, such as
                                               cents each. [ME ech < OE a,/c.]                                         [ME ere < OE a,r.J                                 &row cars
                                                    USBfle: When the subject of a senten':C begins with               ear•ache (1r'ak') n. An ache in the ear.                        ·
                                               each, ti ts trad,uonally held to be grammatically singular,            ear•drop (ir'drop') n. An earring, esp. one with
                                               and the verb and following, pronouns must be singular as                ornament.                                            a l'Cndc111
                                               well: Each of the pitchers has (not have) his (not their) good         ear•drum (ir'dnim') n. Anal. The tympanic memb
                                               curve ball. Whe1,1 each follows a plural subject, however, the         eared (ird) adj. 1. Having ears or earlike' :anc..
                                               verb and followmg pronouns generally remain in the plural:              2. Having a specified kind or number of ears:~ ~JCClions.
                                               The foys ~ach _have their jobs to do_. The expression each and           puppy.                                                        op-eared
                                               every ,s ~ew1se followed by a smgular verb and singular                 eared seal n. Any of various seals of the farnil O ..
                                               pronouns m formal style: Each and every driver knows what                which includes the sea lions and fur seals, char~ci/arudac,
                                               his or her job is supposed to be. -See also Usage note at                external ears, oarlike front flippers, and hind flip;ZCd by
                                               everyone.                                                                can be turned forward for walking on land.               rs that
                                              each other pron. Each the other. Used to indicate a recipro-             ear•flap (ir'flap') n. A flap that is altached to a cap and
                                               cal relationship or action.                                              be ·turned down to cover the ears.                          may
                                                    Usage: According to some traditional grammarians,                  ear•fu_1· (ir'fool') ~- 1. A flow of information or gossip.
                                                                                                                        scoldmg or repnmand.                                        2·A
                                               each other is used of two, one another of more than two. This
                                               distinction has been ignored by many of the best writers,               ear•lng (ir'Ing) n. A short line attaching an upper corner
                                                however, and a majority of the Usage Panel finds these ex-              sail to the yard. (Perh. < EAR' .]                          o1a
                                                amples acceptable: The four partners regarded each other               earl (Ori) n. A British peer next in rank above a viscount d
                                                w11h suspicion. A husband and wife should confide in one an-            below a marquis. [ME er/, nobleman of high rank < ~E
                                                other. When speaking of an ordered series of events or                  eorl.]
                                                 stages, only one another can be used: The Caesars exceeded            ear•lap (ir'lap') n. An earflap.
                                                 one another (not each other) in cruelty means that each Cae-          earl•dom (0rl'd~m) n. 1. The rank or title of an earl 2 Th
                                                 sar was crueler than the last. • Each other cannot be used as          territory of an earl. [ME er/dom < OE eor/dom.] · · •
                                                 the subject of a clause in formal writing. Instead of we know         earless seal n. Any of various seals of the family Phocidae
                                                 what each other are thinking. one should write each of us              which includes the hair seals, characterized by the lack 0/
                                                 knows what the other is thinking. Instead of the men know              external ears, short fore flippers, and reduced hind flipper
                                                  that each other are coming. write each of the men knows that          specialized for swimming.             ..                      s
                                                  the other is coming. Instead of we are all each other has, write     ear lobe n. The soft, fleshy tissue at the lowest portion of the
                                                  each of us is all the other has. • The possessive forms of each       external ear.
                                                  other and one another are written each other's and one anoth-        ear•ly (0r'le) adj, -ll•er, _-ll•est. 1. Near the beginning ol a
                                                  er's: The boys wore each other's (not .eac~ others') coats. They      !!'ven senes, penod of time, or course of events. 2. Belong-
                                                 had forgollen one another's (not one anothers') names.                 mg lo a distant or remote penod of time; primitive. 3. Oc-
                                                ea•ger' (e'g~r) adj. -er, -e•t. 1. Intensely desirous of some-          curring, developing, or appearing before the expected or
                                                  thing; impatiently expectant: an eager search for a familiar          usual time. 4 . Occurring in the near future. -adv. 1. Near
                      eagle                      face in the crowd. 2. Obs. Tart; sharp; cutting. -See Usage            the beginning of a given series, period of time or course of
                   Golden eagle                   note al anxlouo. [ME eger < OFr. aigre, sharp < Lat. acer,]           events. 2. Far back in time. 3. Before the exp;cted or usual
                                                  -ea'ger•ly adv. -ea'ger·ness n.                                       time. [ME erli < er, before, soon < OE a,r and ON ar.J
                                                       Synonyms: eager, avid, keen, anx/ous, earnest, fervid,           -ear'll·ness n.
                                                 zealous. These adjectives describe a condition of mind                early bird n. 1. A person who arises early. 2. One who ar-
                              middle inner




-
                outer ear        ear ear                                                                                rives early or before others.
                                                marked by great interest, desire, or concern, ora:'manifesta-
                                                tion of such a condition. Eager primarily suggests strong              early on adv. At or during an early stage: The new program
                                                interest or desire. Avid, an intensification of eager, implies          developed problems early on.
J'                                              enthusiasm and unbounded craving. Keen suggests acute-                 ear•mar1< (ir'_miirk') n. 1. _An identifying mark on the ear of a
                                                ness or intensity of interest or emotional drive. Anxious ap-           domesllc arumal. 2. An 1denufying feature or characteristic.
                                                plies to interest or desire tinged by concern or fear. Earnest          - tr. v. -marked, -mark•lng, -marks. 1. To mark the ear ol (a
                                                stresses seriousness of purpose and sincerity of motivation.                                                                     an
                                                                                                                        domesti~ animal) for identification. 2. To place identify-
                                                Fervid emphasizes intensity of interest or desire, expressed            mg or d1Stmct1ve mark on. 3. To reserve or set aside for a
                                                in behavior that may be compulsive or overwrought. Zeal-                particular purpose: We earmarked the merchandise for spe-
                                                ous makes an even stronger implication of unbridled enthu-              cial customers.
                                                siasm or concern, sometimes verging on fanaticism and                  ear•muff (ir'miif') n. Either of a pair of ear coverings often
                        . ~ l
                                                unrestrained behavior.                                                   anach~ to an adjustable headband and worn to protect
           .,                        .         ea•ger2 (e'g~r, a'-) n. Variant of eagra.                                .:sp. agamst the cold.
           t · .i': -· . ~··                 J eager beaver n. Informal. An excessively industrious or                 earn' (um) tr. v. earned, earn•lng, earns. 1. To gain esp. for
                                                                                                                         the performance of service, labor, or work. 2. a. To acquir_e
lh                                              zealous person.                                                          as a result of effort or action: earned the disapproval of h•
                                               ea-gle (e'g~I) n. 1. Any of various large birds of prey of the
                                                                                                                        peers. b. To make worthy of. 3. To produce as return or
                                                family Accipitridae, including members of the genera Aquila
                                                                                                                         profit. [ME ernen < OE earnian.] -earn'ar n.
                                                and H a/iaeetus, or characterized by a powerful hooked bill,           earn• (um) intr. v. earned, earn•lng, earn,. Obs. To yearn.
                                                long broad wings, and strong, soaring flight. 2. A represen-             [Var. of YEARN.]                                        .
                                                tation of an eagle used as an emblem or insignia. 3. A for-            ear-nest1 (Or'nlst) adj. 1. Marked by or showing deep sine<t·
                                                mer gold coin of the United Stales having a face value of ten            ity or seriousness: an earnest gesture of good will. 2. Of an
                            stapes              dollars. 4 . A golf score of two below par on a hole. [ME egle           important or weighty nature; grave. -Idiom. In earne;~
                       ear1                     < OFr. < Lat. aquila.]                                                   With a purposeful or serious intent. [ME ernest <
                  The human ear                ea-gle-eyed (!'g~I-Id') adj. Having keen eyesight.                        eornoste.]   -ear'naat-ly   adv. -ar'nest·neH n.
                                               eagle owl n. A large Eurasian owl, Bubo bubo, having
                                                brownish plumage and prominent ear tufts.
                                                                                                                        earnest" (Or'nlsl) n. 1. Money paid in advance as part
                                                                                                                         ment lo bind a contract or bargain. 2. A token of some
                                                                                                                                                                                          JrJ'r
                                               Eagle Scout n. One who has achieved the highest rank in                   to come; promise or assurance. [ME ernest < Ofr. erres:f;_
                                                the Boy Scouts.                                                          of erre, pledge < Lat. arra, short for arrabo < Gk. arrabc
                                               ea-glet (e'gllt) n. A young eagle.                                        Heb. 'eriihhon < 'iirabh, he pledged.]               . Toe
                                               ea-gre also ea-ger (!'g~r. a'-) n. Bore'. [Orig. unknown.]               earn•lngs (0r'nlngz) pl.n. Something ~ed, esp.i, a.inCSS
                                               eal·dorman (6l'd~r-m~n) n. The chief magistrate of a dis-                 salary or wages of a person. b. The profits of a us
                                                trict in Anglo-Saxon England. [OE. -see ALDERMAN.]                       enterprise. c. Gains from investment.               . . ais
                                               -ean suff. Variant of -Ian.
                                               ear1 (ir) n. 1. Anal. a. The vertebrate organ of hearing, re-
                                                                                                                        earphone (ir'fon') n. A device that converts electnc
                                                                                                                         as from a telephone or radio receiver, to audible soun
                                                                                                                                                                                s and    'f
                                                sponsible, in general, for maintaining equilibrium as well as            that fits over or in the ear.                           ndent
                                                sensing sound, and divided in man into the external ear, the            earring (ir'ring, ir'ing) n. An ornament wom on or pc
                                                middle ear, and the internal ear. b. The part of this organ              from the ear lobe.                                   h acter·
                     earphone                   that is externally visible. 2. An organ analogous to the                ear rot n. Any of various fungus diseases of com c ar
                                                mammalian ear in invertebrates. 3. The sense of hearing.                 ized by decay and molding of the ears.
      I,                                        4. Keenness of hearing. 5. Sympathetic or favorable atten-              ear shell n. The shell of the abalone.                         bC
                                                tion. 6. Something resembling the external ear in position or           earshot ("rr'shot') n. The range within which sound can
                                                shape, esp.: a. One of the tufts of feathers on the head of              heard; hearing distance.                                 gh 10
                                                certain birds. b. A projecting handle, as on a vase or                  earspllt•Ung (ir'split'ing) adj. Loud and shrill enou
     I'                                         pitcher. 7. A small box that appears in the upper comer of               hurl the ears.                                          (listiJI·
                                                 the page in a periodical, such as a newspaper and often                earth (Orth) n. 1. a. The land surface of the world, as

                                                ---------------------------------..                                                                                            ; ;,pier /
                                                a pat/ a pay / Ar care / afather / b bib / ch church / d deed / e pell e be / f fife / g gag / h bat / hw which Ii pit Ii pie           1/
                                                                                     LAIBO
                                                j judge / k kick/ I lid, needle / m mum         - 000413
                                                                                        / n no, sudden  / ng thing / 6 pol / o toe / 6 paw, for / oi noise / ou out / oo to0k
                                                                                                                                                                              160  t,oO
                                                                                                                                                                                                  1
1is3                ed herbivorous beetles of the family Te-                                                             tenebrous \ teocalli
                               Case 6:22-cv-00001-ADA
            k,e01or 1,at. Tenebr,onidae,     family name < Tene-          Document 26-3 Filed 09/27/22 Page
                                                                         len•slon (ten'sh,n) n. 1 . a. Th.  9 of 10
    , 1 d•'da•· [< !'I< 1,at. tenebrw, one who avoids light <             b. The   co ndition
                                                                               LAIBO          of bein
                                                                                           - 000414      e ac t o r process or stretching.
       ~on' gonUS -te-neb•rl•o•nld' a4i.                                  stretch or elongate som\:~etch~d-~ a. A !orce tendin g to
   ~- "fdar~~~bros) also te•neb•rl•ous (to-neb're-os)                     force : a tension of 50       ng. ·       e measure of such a                         •I
  i<''prt'rous ~\ioernY- [< Lat. tenebrae, darkness.) -tan'a•             nervous strain b A po.unds. 3 - ~- Mental, emotional. or
                                                                          hostility betw~en· per~~~ned relation or barely controlled
 ~park aJ16 'i-1•) n.
  Ii· 1-tt (-br s ,,.rnont) n. 1. A b ut·1d·mg to 1·tve in, esp. one      4. A device for re ulatin or groups. c. Uneasy suspense.
1'"'        nt (ten 1. residence. 2. A run-down low-rental                the tautness of th~ead 0 : tautn~ss, esp. a device regulating
               (or.~g     whose facilities and maintenance barely         age or potential· elect
                                                                          Ing     I
                                                                                                      a ~ew,fng machine. 5 . Elect. Volt-
                                                                                        T , . romollve orce. -tr. v. -•lonec:t -slon•
             t buil tandards. 3. Chiefly Brit. An apartment or
             ·          tenant. 4. La_w. Property of a permanent
                  d rents, or franchises, that may be held by one
                                                                         1!~".~r-8;\i~}!~~~~:,C~~os::e~~t]~~~s:~~'.~/~t <LLat.
                                                                         len•siv~ &en':;~te~ n. The stat~ of being tense; tenseness.
  ll"'°re.asl•D ~(her. [ME, house< OFr. <Med.Lat. tene-                  len•sor (ten's>r) -st')Of, ~erta mmg to, or causing tension.
  oi'" 0 (oraJ1 1_ tenere, to hold.) -ten'e•men'tal (-men'tl),
  ~""' <     1:3     (-rnen'to-re) adJ. .                         P art • making 11    . , f'     n. . Anat. A muscle that tenses a
                                                                                            irm. 2. Marh. An element of an abstract
 ""!~ta(inez'rnos) n. A pamfully urgent but ineffec-              system used to denote position determined within the con-
 ""         us t 10 urinate or defecate. [Med. Lat., var. of Lat. te;:: ~f . more than one coordinate system, a special case of
              PGk teinesmos < temem,_ to stram.J                  w c ts a vector that 1s determined in a single coordinate
            \) n:     An opinion, doctnne, or P!'"c_iple held as  system. -ten•so'rl•al (-s6r'e-ol, -sor'-) adj.
II":' 0 by a person or esp. by an organization.[< Lat.,         Ten•s~r lamp. (ten'sor, -sor'). A trademark for a high-
  i,e;ng uu < ienere, to hold.)                                   mtens1ty electnc lamp.
 b< holds ~•fold') adj. 1. Composed of ten parts or mem-        ten-strike (ten'stn"k') n. 1. A strike in tenpins. 2. Informal. A
i,n4•1     fen times as great or as many. -adv. Ten times in       remarkably successful stroke or action

       r
 !)C!S- • number.
 .,ient 0 hat (ten'gal'on) n. A felt hat having an excep-
~.-gal• 0 ll crown and wide brim.
                                                                lent• (tent) n. 1. A portable shelter of canvas, plastic, or
                                                                  skins stretched over a supporting framework of poles with
                                                                   ropes and pegs. 2. Something resembling a tent in construc-
  uona!IY ~n~•) n. Variant of taenla.                              tion o~ outline. -v. tent'"ed, tent-Ing, tents. -intr. To en-
irnl•a <\de also tae·nl•a•clde (te'ne-o-sid') n. An agent          camp m a tent. -tr. 1. To form a tent over. 2. To put up in
irni•a-C tro s tapeworms. [TENIA + -CIDE.)                         tents. [ME< OFr. tente < VLat. •tenta < fem. p.part. of Lat.
 1hal des,s iso tae•nl•a•sls (te-ru~:>-sis) n. Infestation with
                                                                   tendere, stretch out.]
irnl••:rms. [TEN(IA) + -IASIS.)              .                  tent• (tef!t) ": A small roll or plug, usually of lint or gauze,
 uPofs (ten'ls) n. 1. A game played with rackets and a light       for J)lacmg m a wound or on/ice to keep it open or for
i,n-n by two players or two paus of players on a court di-         probing. -tr. v. tent•ed, tent-Ing, tents. To keep (a wound or
1ed
 11
          by a net. 2. Lawn tennis. 3: Court tennis. [ME tenetz,
      rt tennis, prob. < OFr. tenez, imper. of tenir, to receive.]
                                                                   cut) open with a tent. [ME tente < OFr. < tenter, to probe <
                                                                    Lat. tentare, to feel.)
 "':.is shoes pl.n. Sneakers (sense 2).                          lent• (tent) tr. v. tent•ed, tent•lng, tents. Scot. 1 . To pay heed
~• -pref Tendon: tenotomy. [<Gk.tenon, tendon.)                     to. 2. To attend; wait upon. [ME ten/en < tent, attention,
~n (t~'on) n. A pr_ojection on the end of a piece of wood           short for attent < OFr. attente < attendre~ to attend < Lat.
                                                                    attendere. -see A ITEND.]
 shaped for inseruon into a mortise. -tr. v. -oned, -on•lng,     len•ta•cle (ten't>•kal) n. 1. Zoo/. An elongated, flexible, un-
 -onl- 1. To provide with a tenon. 2 . To join with a tenon.
                                                                    segmented protrusion, as one of those surrounding the
 [ME < Ofr. < tenir, to hold < Lat. ten ere. J.                      _
                                                                    mouth or oral cavity of the squid. 2. Bot. One of the hairs
ien-or (ten'or) n. 1 . a. The flow of mearung apparent m            on the leaves of insectivorous plants, as the sundew.
 something written or spoken. b. General sense; purport.            3 . Something resembling a tentacle, esp. in ability to grasp
 2. a. Law. The exact meaning or actual wording of a docu-          or hold. [NLat. tentaculum < Lat. tentare, to touch.) -ten•
  ment as distinct from its effect. b. An exact copy or tran-       tac'u•lar (-tak'y>-lor) adj.
 ,cript of a document. 3. Mus. a. _The highest natural adult      lent·age (ten'tij) n. 1 . Tents collectively. 2. A supply of tents
  male voice. b. A part for this voice. c. One who smgs this        available for accommodation. 3. Tent equipment.
 part. -mod/lier: a tenor sax. [ME < OFr. < Lat., uninter-        len•la•llve (ten'ta-tiv) adj. 1. Of an experimental nature;
 rupted course < tenere, to continue.]                               provisional. 2. Uncertain: a tentative smile. -n. An experi-
Jeono~rha•phy (te-n6r'o-fe) n., pl. -phles. The surgical unit-       ment. [Med. Lat. tentativus < Lat. tentare, to try.] -ten'ta•
 ing of divided tendons with sutures. [TENO· + Gk. rhaphe,           tlve•ly adv. -ten'ta•tive•ness n.
 suJure.]                                                         lent caterpillar n. Any of several destructive caterpillars,
ten·o•syn•o•vl-tls (ten'6-sfn'6-vi'tis) n. Inflammation of a         esp. the hairy larva of a North American moth, Malacosoma
  lcndon sheath. [TENO- + SYNOV(IA) + -ITIS.)                        americanum, that live in colonies in tentlike webs con-
le-not·o•my (te-not'o-me) n., pl. -mies. The surgical division       structed in deciduous trees.
 of a tendon for the relief of deformities caused by the short-   tenl•ed (ten'tid) adj. 1. Covered with tents. 2. Sheltered in
 ening of a muscle.                                                  tents. 3. Resembling a tent.
len•pence (ten'pons) n. Chiefly Brit. A sum of money equal        len•ler (ten'tor) n. 1 . A framework upon which milled cloth
  to ten pennies.
                                                                     is stretched for drying without shrinkage. 2. Obs. A tenter-
len"l)en•ny (ten'pen'e, -p•-ne) adj. Chiefly Brir. Valued at or      hook. -tr.v. -tered, -ter•lng, -ters. To stretch (cloth) on a
 costmg tenpence.                                                     tenter. [ME teyntur.J                                                       tenrec
len_penny nail n. A nail three inches long. [From its orig.        ten•ler•hook (ten't,r-hook') n. A hooked nail for securing
 pnce per hundred.)                                                  cloth on a tenter. -Idiom. on tenterhooks. In a state of
fen-pin (ten'pin') n. 1. A bowling pin used in playing ten-           uneasiness, suspense, or anxiety.
 pm.s. 2. tenpins (used with a sing. verb). The game of bowl-
 mi                                                                tenth (tenth) n. 1. The ordinal number that matches the
                                                                      number ten in a series. 2. One of ten equal parts. [ME tenthe
len•rec (ten'rek') also tan•rec (tan'-) n. Any of various in-         (< ten, ten), alteration of tethe < OE teo6a.] -tenth adj. &
 secuvorous, often hedgehoglike mammals of the family Ten-            adv.
:'.:'da~,    of Madagascar and adjacent islands. [Fr. < Mala-
i;"y tandraka. J                                                   lent stitch n. A short diagonal embroidery stitch that forms

 ,~: (t~ns) adj. tens-er, tens-est. 1. Tightly stretched; taut;
                                                                      close, even, parallel rows to fill in a pattern or a back-
                                                                      ground.
                                                                                                                                                                     .'
  ten,j ed. tense muscles. 2. In a state of mental or nervous      ten•u•is (ten'yoo-is) n. , pl. -u-es (-yoo-ez'). A voiceless stop
  i:;,:i-
  4           3. Nerve-racking; suspenseful : a tense situation.      in Greek. [NLat. (transl. of Gk. psilos) < Lat., thin.)
  ~trv nctated with taut muscles, as the consonant t. -tr. &       te•nu+ty (te-noo'I-te, -nyoo'-) n. 1. Lack of flrmnes~ or met-                 tentacle
leiise,  o~"'
 [Lai -,~nsea, tens•lng, tens-es. To make or become tense.
                   < P-Part. of tendere, to stretch out.]
  COnju . ns) n. 1. Any one of the inflected forms m the
                                                                .
                                                                       tle. 2. Fragility. [Lat. tenuitas, thinness <_ tenu,s, thin.]
                                                                   ten•u•ous (ten'yoo-,s) adj. 1 . HaVIng a thin or_ slender form.
                                                                       2. Having a thin consistency; dilute. 3. HaVIng littl~ sub-
                                                                                                                                                Of an octopus


  or futt•ti)on of a verb that indicates the time (past, present,      stance; flimsy: a tenuous argument. [Lat. tenuis.] -ten'u•
  tion ( re as Well as the continuance (imperfect) or comple-          ous•ly adv. -ten'u·ous·ness n.                       . .
  indica'trfect) of the action or state. 2. A set of tense forms
  Of,            a Particular time: the future tense. [ME tens <
                                                                    ten•ure (ten'y>r, -yoor') n. 1. The fact or condiu'?n of hold-
                                                                       ing something, as real estate or an office; occupat10n. 2. The
                                                                                                                                                                         .,
lell-siie e Lat. tempus.J                             .            .   terms under which something is held. 3. a. The penod of
  2. Capa~ten s,1, -sil') adj. 1. Of or pertairung to tension.         holding something. b. Perman_ence of position, _often
  ''"-'ilis le of being stretched or extended; ductile. [NLat.         granted an employee after a specified number of years. ~ca-
  '~etch { Lat. tensus, stretched out < p.part. of tendere, to         demic tenure. [ME < OFr. < tenir, to hold, < Lat. tenere.]
lensue · -ten•sll'l-ty (ten-sil'o-te) n.                               -ten'ured aq;. -ten-u'rl•al (ten-yoor'e-ol) adj. -ten•u'rl•al•
  itridingSlrength n. The resistance of a material to a force
len-s;rn to tear it apart.
                                                                       ly adv.                                     ·       d
                                                                    ten•ured (ten'yard, -yoord') adj. HaVIng aca erruc tenure.
                                                                                                                                ·
                                                                                                                                                                     \
  11Jcasu,;1er (ten-sfm'I-t,r) n. An apparatus that is used to      te•nu·to (ta-noo'to) adv. & adj. Mus. So as to be held for the
                                                                                                                                                                         ,I
  !Ei,__]       differences in vapor pressure. [TENSI(ON) + -ME-       full time value; sustained. [Ital. < p.part. of tenere, to hold <
                                                              .         Lat. tenifre.]                                    f     ·    M
lllca, lll•e-ter (ten'se--om'I-t::.r) n. 1. An instrument for        te•o•cal-11 (te'o-kal'e) n., pl. -lls. 1. A temple o ancient      ex-
llSC(t ~g tensile strength. 2. A torsion-balance apparatus              ico and   Central     America, usually built upon   a  mound  of a
 ;. -~ tneasure the surface tension of a liquid. [TENSI O(N)            truncated    pyramidal     shape. 2. The  mound   U))On   which  a
         R..) -ten'sl-o•met'rlc adj. -ten 'sl-om'e-try n.               teocalli is built. [Nahuatl : teotl, sacred + ca/11, house.]

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  'ision•~ar Is sauce/ sh ship, dish/ t tight/ th thin, p ath/ th this, b_a e_   cu ';; iiber / KH Ger. ich, Scot. loch/ N Fr. boo.
          > about, item, edible, gallop, circus / ce Fr. feu, Ger. schon / ii ,r. tu, er.
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                coun•ter-punch (koun' l'lr-pii nch ') n. A countering attac k or      coun•lry•side ( kun'tre-si d ') n 1 · A rural re ·                'n11
                 blow, e.~p . a counter in boxing.                                       ha bitants of a countryside.                     &ton. l)i ,
                coun-wrref·or•ma•tlon (ko un ·t:ir-rM':ir-mll'sh:in) n. A ref-         coun•lry•wom•an (kun' tre-woom',m) n. 1. A                   · ' ,,
                    o rmuion in opposi tion to previ ous reforma t.ion.                  one's o wn cou ntry ; compatno t. 2. A Woman f wo"'•n
                 Counter Reformation n. A reform movement wi thin the                    lar co untry. 3. A wo man who lives in lhe co rorr, a p 11"'1,
                    Ro m an. Ca tho lic Church in response to the Protestant Ref-     coun•ty (koun'te) n., JJ': ·11••· l. In the Un;Untry.
                    o rma uon.                                                           adminis tra tive subd1vtsron of a state. 2 1 1•d Sta
                 coun•terrev•o•lu•tlon (ko un ' tar-rev'a-loo'sh:m) n . A move-          and Ireland, a terri to ria l division exercising" Grea1 ~".-
                    mcnt arisi ng in op position to a revolution and aiming to
                    rcstor<e the prercvolutionary state. -coun'ter-rey'o•lu'tlon•
                                                                                        judicial, and poht•~al functi o ns. 3. The Peo         •11llilli, •1,,
                                                                                         county. 4. The terntory under _the_Jurisdictio pc '"i n
                                                                                                                                                      1rn1¾

                   ar'y (-sh:>-ner'e) adj. & n. -coun'ter-rey'o•lu'Uon•l•t n.            earl. [ME counte, tern to nal d 1vts1on < AN n of a "<Jg tn i
                 coun•ter•ahaft (ko un' tar-shllft') n. An intermediate shaft be-        conte, the territo ry of a coun! < Med . La t. ca,,.:ou~,. , ~nt .,,
                   tween the powered and driven shafts in a belt drive.                  an office of state < Lat., ret10.u e < comes, co ta,.._, " l G,,_
                      u t ,~ (k ,                 ')
                co n· er•• gn oun tar-srn tr. v. -•l11ned, -algn•lng, -• gn .
                                                                              1 •     county palatine n. The doma m of a count 111 Pan; 0 • Li,
                                                                                      county seal n. A town or city that ,·s the ccPala11n,."·l ,
                   To sign (a previously signed document), as for authent.ica-                                                              n
                   Lio n. -n. 1. A second or confirming signature, as on a pre-          menl in its county.                                  tcr or 80
                   viously signed document. 2. a. A secret sign or signal to be       county town n. Chiefly Brit. A county seat                         •~
                   given to a sentry in order to obtain passage; password. b. A       coup (koo) n., pl. coups (kooz). 1. A briili
                   secret sign or si~al given in answer to another. -coun'tar-          stratagem; masterstroke. 2 . A coup d·etat             IT'lly
                                                                                                                                                    •~ctu
                   alg'na-ture (-slg na-char) n.                                        OFr. < LLat. co/pus < Lat. colaphus < Gk k r., str01 I,;
                                                                                                                                               I
                coun•ter-alnk (koun'tar-sfngk') n. 1 . A hole with the l?P            coup de grace (koo' da grlis') n. 1. A deaih bt°Phos.J ' '
                  part enlarged so that a screw or bolthead will lie nush with          ing stroke delivered to end the misery of 50 ow or fi n;
                  or below the surface. 2. A tool for making a countersink.             mortally wounded . 2. A finishing or decisivc"1conc "'ho'~
                  - tr: v. -•unk (-sungk'}, ·•lnk•lng, -•Ink•. 1 . To make a coun-      [Fr. : coup, stroke + de, of + grace, mercy I CVcnt 0r ..;:_
                  tcrs,nk on or m . 2. To drive a screw or bolt into (a counter-      coup de main (koo' d:, miiN') n. A sudde~ ac .
                  sink).                                                                taken to surprise an enemy. [Fr. : coup, stroke ~on un¾
               coun•ter•spy fkoun'tar-spi') n. A spy working in opposition              main, hand.)                                                de, of ;
                  to enemy espionage.                                                 coup d'e•tat (koo' da-ta') n. A sudden overthrow
               coun•ler••~ln (koun'tar-stlln') n. A stain of a contrasting              emmenl by a group of persons m or previously . of a ~
                 color used m addition to a principal stain that colors the             of authority in deliberate violation of constitut/" Posi11,..;
                 components m a microscopic specimen that are not made                  [Fr. : coup, stroke + de, of + etat, state.)              onai f0rntt
                 v1s1ble by the principal sta.m.                                      coup de lhe•a•tre (koo' d:, ta-a'tr:,) n. An unex                       ·
               coun•ler·sunk (koun'tar-sungk' ) v. Past tense and past par-             dramatic event, esp. one tha,t overturns a give[""1«1
                  t1c1ple of counteralnk.                                               [Fr. : coup, stroke + de, of + theatre, theatre I suua1;0rt.
               coun•ler·len·or (koun't:,r-ten'ar) n. 1. An adult male voice           coup d'oell (koo dce'y:,) n._ A quick survey; &lance
                 with a ra.nge above that of tenor. 2. A singer with a counter•        coup, stroke + de, of + oez/, eye.)                            ·[Fr. :
                  tenor voice.                                                        coupe• (koop) n. 1 . a. A. dessert of ice cream or .
               coun•ler•vall (koun' tar-vlll', koun'tar-vlll') v. -valled , -vall•      navored ice, vanously garrushed and served in a Specj~ru11.
                 Ing, -valla. -tr. 1. To act against with equal force; counter-        sert glass. b . The stemmed glass in which a coupe is des.
                 act. 2. To compensate for; offset. -intr. To act against an           2. A shallow, bowl-shaped dessert dish. [Fr., cup <~
                 often detrimental influence or power. [ME countrevaillen <            cuppa.]      .
                 OFr. contreva/oir : contre, counter- + valoir, to be worth<         coupe• (koop) n. Variant of coupe (sense 2).
                 valere, to be strong.)                                              cou•pe (koo-pll') n. 1. A closed four-wheel carriage with
               coun•ter•welgh (koun'tar-wll') intr. & tr. v. -weighed,                 seats inside and one outside. 2. Also coupe (koop) A cl two
                 -welgh•lng, -welgha. To counterbalance or cause to counter-           two-door automobile. [Fr. < p.part. of couper, to .,;.1 < ,"SOl
                 balance.                                                              blow. -see COUP.)                                                  °"I,
               coun•ter•welght (koun'tar-wllt') n. A weight used as a coun-          cou•ple (k.up':,I) n. _1: Two items of the same kind; pair
                 terbalance. -coun'ter-walght'ed (-wll' tld) adj.                      2. Something that Joms or connects two things togeth, :
  coupe        counter word n. A word, as nice or awful, commonly used                 link. 3. (used with a sing. or pl. verb). a. A man and wo~
                without regard to its precise meaning.                                 united, as by marriage or betrothal. b. Two people together.
               count•••• (koun'tls} n. 1. a. In various European countries,            4. A few; several : a c_ouple of.days. 5. Physip. A pair of
                 the wile or widow of a count. b. In Great Britain, the wife           forces of equal magrutude actmg m parallel but opposi~
                or widow of an earl. 2. A woman holding the title of count             directions, capable of causing rotation but not translatio~
                or earl in her o wn right. [ME countes < OFr. contesse, fem.           -v. -pied, -piing, -pies. -tr. 1. To link together; connect
                of conte, count. -sec COUNT.)                                          coupled her refusal with an explanation. 2. a. To join as man
              counting house also count-lng•house (koun'tlng-hous')                    and wife; marry. b . To join in sexual union. 3. Elect. To link
                n. An office in which a business firm carries on operations           (two circuits or currents) as by magnetic induction. -intr.
                such as accounting and correspondence.                                 1. To form pairs;. join. 2. To copulate. 3. To join chemi•
              counting room n. A counting house.                                      cally. [ME < OFr. < Lat. copula, bond.)
              count•lesa (kount'Us) adj. Too numerous to be counted; in-                     Synonyms: couple, pair, duo, brace, yoke.These nouns
                finite; innumerable. -count'leH•ly adv.                               denote two of something in association. Couple refers lo lwo
              count noun n. A noun, such as chair or pea, that can form a             of the same kind or sort not necessarily closely associated,
               plural and that can occur in a noun phrase construction                 though often it does apply to close relationslrip. Less for•
               with the indefinite article, with such terms as many, or with           mally the term may mean "few." Pair stresses close assoo·
               numerals.                                                              ation and often reciprocal dependence of things (as in the
              count palatine n. A palatine• (sense 3).                                case of gloves or pajamas). Sometimes it denotes a single
              coun•trl-fled also coun•try-fled (kiln'lri-fid') adj. 1. Resem-          thing with interdependent parts (such as shears or s~ta·
               bling or having the characteristics of country life; rural;            cles). Duo refers to partners in a duet. •Brace refers pnncr·
               rustic. 2. Lacking in sophistication.                                  pally to certain game birds, and yoke to ,two.joined draft
             coun•try (kiin'tri!) n., pl. •trlea. 1 . A large tract of land dis-      ammals.
               tinguishable by features of topography, biology, or culture.                  Usage: Couple, when referring to a man and worna:
               2. A district outside of cities and towns; rural area. 3. a. A          together, may be used with either a singular or a plural vcr ;
               nation or state. b. The territory of a nation or state ; land.         but the plural is more common. Whatever the cho1ce. usag_
               c. The people of a nation or state; populace. 4. The land of           should be consistent: the couple are spending the,r hon,Y
              a person's birth or citizenship. 5 . Law. A jury. -modifier:            moon (or is spending its honeymoon).                            . for
              country life. (ME countre < OFr. contree < LLat. contra/a <            cou•pler (kiip'l:,r) n. 1. One that couples. 2. A_ devi~ or·
              Lat. contra, opposite.)                                                 coupling two railroad cars.- 3. A device connectmg lW
             country and western n. Country music.                                    gan keyboards so that they may be played_ l'?gether. sue·
             country club n. A suburban club with facilities for golf and            cou•plet (kiip'lit) n. 1. A unit of verse cons1s11ng of twrnetcr. 0

              other outdoor sports and social activities.                             cessive lines, usually rhyming and h'.'ving· the sam~upld
             country cousin n. One whose ingenuousness or rustic ways                 2. Two similar things; pair. [OFr., dun ..of couplf' . 'In•
              may embarrass or amuse city dwellers.                                  cou•pllng (kiip'ling) n. 1. The act of fo.rmlllg coup ':; as a
                                                                                                                                                       2
coupler      coun·try-dance (kiin'tri!-dli.ns') n. A folk dance of English            act of copulating. 3 . Something that Jinks or conn 15 lh•        ting
              origin in which two lines of dancers face each other.                   railroad coupler. 4. The part of the body conn~ al.
             coun•try•fled (kiin'tri-fid') adj. Variant of countrified.               hindquarters and forequarters of a four-footed ~cal< at·
             country gentleman n. 1. The owner of a country estate.                  cou•pon (koo'p6n', kyoo'•) n. 1. A nego tiable ~e~~resl d••·
              2. Often Country GenUeman. A variety of com with small,                 tached to a bond that represents a sum of Ill menl 1hat
              sweet white kernels.                                                    2. a. A detachable part, as of a ticket or adveruse h r;fund
             coun•try•man (kiin'tri!-man) n. 1. A person from one's own               entitles the bearer to certain benefits, such as. 3 ca:nt, 10 b<
              country; compatriot. 2. A person from a particular country.             or a gilt. b. A printed form, as in an. adverttse~tioO- 3, A
              3. One who lives in the country; rustic.                                used as an order blank or for requesung inJormas for rner·
             country music n. A style of popular music based on folk                  detachable slip calling for p eriodic payments, ofr. co/po~
              music of the rural United States, esp. of the southern or               chandise bought on an installment plan. [Fr. < see coVP· 1
              southwestern United States.                                             piece cut off < co/per, to cul < coup, blow. -

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             A pat/ 11 pay/ Ar care/ l! lather I b btb / ch church/ d deed/ e pet/ i! be/ f fife / g gag/ h hat / h w which/ 1 pit / t P' 6b t,o0t l
            j judge/ k kick / I lid, needle/ m mum / LAIBO            ng thing/ 6 pot / 6 toe / o paw, for / o i noise / ou out / 60 ioolr: 1
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